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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Nazmi A. Yousef
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−01103
                                                          Honorable Gary Feinerman
Bank of America, N.A., et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 22, 2018:


         MINUTE entry before the Honorable Gary Feinerman:The 5/10/2018 order [41]
required the parties to file a joint status report by 6/21/2018. No report was filed. The time
for filing the status report is extended to 6/25/2018. Mailed notice.(jlj, )




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